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UNITED STATES DISTRICT COURB ES. & a
HASTERN DISTRICT OF MICHIGANAG oo =
SOUTHERN DIVISION OG
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UNITED STATES OF AMERICA, Gren o
Plaintiff,
Criminal No. 03-80810
Vv. Honorable Gerald E, Rosen

D-| AHMAD MUSA JEBRIL,

D-2 MUSA ABDALLAH JEBRIL, 0 5 X% 0 8 40

Defendants.
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SUBHIEH JEBRIL’S PETITION TO
ADJUDICATE THE VALIDITY OF
HER INTEREST IN
4637 PALMER, DEARBORN, MICHIGAN

NOW COMES Petitioner, Subhich Jebril, by and through her attorney, Jorin G. Rubin the
following:

l. Tam the wife of Musa Abdallah Jebril, We were married in 1964 and are still
married to this day,

2. On November 25, 1983, my husband and | purchased the property located at 4637
Palmer, Dearborn, Michigan for $42,000 (hereinafter the “subject property”). We received a
warranty deed related to the subject property.

3. My interest in the subject property is based on the fact that the title is in my name
with my husband. Under Michigan law, my husband and I own the subject property as tenants

by the entircties which prevents its forfeiture. See U.S. v. 2525 Leroy Lane, 910 F. 2d 343 (6

Cir. 1990), cert. denied, 111 8.Ct. 1414 (1991).

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4, ido not know of any acts conducted by the Detendants that would give tise to the

forfeiture of the subject property.

3, Based on my ownership interest in the subject property, the property cannot be
forfeited to the government.

6. Pursuant to 21 U.S.C. 9853(ni(6)(A) and (B), I have a legal right, title and/or
interest recognized by law that is superior to that of the Defendants at the time the alloged
commission of the acts occurred which gave rise to this forfeiture and I am a bona fide purchaser
of the subject property without reason to believe that the property was subject to forfeiture.

WHEREFORE, Petitioner, Subheih Jebril, seeks to have her ownership interest in the
subject property adjudicated by the Courts and have the forfeiture action against this property
dismissed in its entircty.

I declare, under penalty of perjury, that the facts contained in this Petition are true to the best of
my ability and information.
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Subheih Jebril

 

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eins Respectfully submitted,

    

rin G. Rubin (P60867)
Law Office of Jorin G. Rubin, PC
Attorney for Plaintiff
26711 Northwestern Hwy, Suite 200
Southfield, MI 48034
(248) 799-9100

Dated: March 3, 2005

 

 
